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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Newport News Division

  JAMES EDWARD MOORE,

                 Plaintiff,
                                                          Case No. 4:17-cv-144
  v.


  CURTISS-WRIGHT CORPORATION, et al,

                 Defendants.


            JOINT CASE STATUS REPORT AND NOTICE OF SETTLEMENT
        COME NOW, Plaintiff, JAMES EDWARD MOORE, and Defendants THE BOEING

 COMPANY,        CURTISS-WRIGHT           CORPORATION,           DANA      COMPANIES,         LLC,

 HONEYWELL INTERNATIONAL INC., IMO INDUSTRIES, INC., UNION CARBIDE

 CORPORATION, AND UNITED TECHNOLOGIES CORPORATION, (hereinafter,

 collectively, “the Parties”) and, pursuant to this Court’s Orders (ECF 198 and 200), provide the

 following joint status report and again notify the Court that the Plaintiff, and Defendants THE

 BOEING COMPANY, CURTISS-WRIGHT CORPORATION, DANA COMPANIES,

 LLC, HONEYWELL INTERNATIONAL INC., IMO INDUSTRIES, INC., UNION

 CARBIDE CORPORATION, AND UNITED TECHNOLOGIES CORPORATION have

 reached settlement agreements in this case.

        This Court’s Order (ECF 200) directed the Parties to file a joint status report advising the

 Court of the progress made in concluding settlement. The Parties engaged in settlement discussions

 in good faith, and have reached settlement agreements in this case, as previously indicated on the

 Joint Motion to Cancel Settlement Conference Scheduled for April 29, 2019 and Notice of Pending


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 Settlements (ECF 196) filed April 19, 2019 and Joint Status Report filed on May 21, 2019 (ECF

 199). Since that time, the parties have been attempting to arrange the funding of the various

 settlements, and the status of each Defendant’s payment is as follows:

        1. THE BOEING COMPANY advises it anticipates its settlement funds will be paid on

            or near July 1, 2019;

        2. CURTISS-WRIGHT CORPORATION funded its settlement payment on June 11,

            2019, and the Joint Stipulation of Dismissal with Prejudice will be filed with the Court

            on or after June 25, 2019;

        3. DANA COMPANIES, LCC advises that it anticipates its settlement funds will be paid

            on or near June 30, 2019;

        4. HONEYWELL INTERNATIONAL, INC. funded its settlement on June 11, 2019,

            and the Joint Stipulation of Dismissal with Prejudice will be filed with the Court on or

            after June 25, 2019;

        5. IMO INDUSTRIES, INC. funded its settlement on June 19, 2019 and and the Joint

            Stipulation of Dismissal with Prejudice will be filed with the Court on or after July 3,

            2019;

        6. UNION CARBIDE CORPORATION funded its settlement on May 24, 2019 and the

            Joint Stipulation of Dismissal with Prejudice was filed with the Court on June 10, 2019

            (ECF 201); and

        7. UNITED TECHNOLOGIES CORPORATION funded its settlement on June 13,

            2019 and the Joint Stipulation of Dismissal will be filed with the Court on June 28,

            2019.




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        In each instance, the Joint Stipulation of Dismissal is filed with the court ten (10) business

 days from the date on which the settlement funds are deposited in Plaintiff Counsel’s client trust

 account. Ten (10) business days is the requisite amount of time that the funds must be deposited

 before they can be drawn out of the trust account. Each Defendant’s payment schedule varies, but

 the Parties have made progress with payment with THE BOEING COMPANY, CURTISS-

 WRIGHT         CORPORATION,             DANA         COMPANIES,          LLC       HONEYWELL

 INTERNATIONAL INC., IMO INDUSTRIES, INC., UNION CARBIDE CORPORATION,

 AND UNITED TECHNOLOGIES CORPORATION.

        At this time, the Plaintiff and Defendants THE BOEING COMPANY, CURTISS-

 WRIGHT         CORPORATION,             DANA         COMPANIES,          LLC,      HONEYWELL

 INTERNATIONAL INC., IMO INDUSTRIES, INC., UNION CARBIDE CORPORATION,

 AND UNITED TECHNOLOGIES CORPORATION jointly request a thirty (30) day extension

 in order for the remaining Defendants to fund their agreed upon settlements and to file the

 appropriate Joint Stipulations of Dismissal. The parties agree to submit an additional Joint Status

 Report in thirty (30) days in which they will hopefully report that all matters have been resolved,

 and all of the remaining defendants have been dismissed from this action.

        In sum, (1) the Parties certify to this Court that they mutually request that the case

 continue to be stayed; (2) that good cause exists due to the Parties awaiting settlement payment

 from the remaining Defendants in this case; (3) that the remaining Stipulations of Dismissal will

 be filed with the Court as soon as the conditions of each individual settlement agreement has

 been met; and (4) that this Court should retain jurisdiction for the sole purpose of enforcing

 settlement if necessary.




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 WE ASK FOR THIS:
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 SEEN AND CONSENTED AS TO HONEYWELL INTERNATIONAL, INC. AND CURTISS-
 WRIGHT CORPORATION’S SETTLEMENT STATUS

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 AlliedSignal, Inc. and Allied Corp.,
 Successor in interest to Bendix Corp.)

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 SEEN AND CONSENTED AS TO UNION CARBIDE CORPORATION’S SETTLEMENT
 STATUS:

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 And

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 SEEN AND CONSENTED AS TO THE BOEING COMPANY’S SETTLEMENT STATUS:

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 In interest to McDonnell Douglas Corporation and
 Boeing North American, Inc.

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 SEEN AND CONSENTED AS TO UNITED TECHNOLOGIES CORPORATION’S
 SETTLEMENT STATUS:

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 SEEN AND CONSENTED AS TO IMO INDUSTRIES’ SETTLEMENT STATUS:

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of June 2019, I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF system, which will then send notification of such filing
 (NEF) to the following:

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  CLARKE, DOLPH, HULL & BRUNNICK                      ego, and equitable trustee to ADELL
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